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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

STATE FARM MUTUAL                   )
INSURANCE COMPANY, et. al.,         )
                                    )
            Plaintiffs,             )
                                    )
      v.                            )                   No. RDB 10-3209
                                    )
UNITED STATES OF AMERICA,           )
                                    )
            Defendant.              )
____________________________________)

                              CONSENT MOTION TO DISMISS

       COMES NOW the Defendant, the United States of America, by and through counsel, and

moves this court to dismiss this suit with prejudice.

       Undersigned consulted with Counsel of Record for the Plaintiffs, Adam Wilk, on October

11, 2012, and received his consent for this motion.

                                              Respectfully submitted,

                                              Rod J. Rosenstein
                                              United States Attorney


                                              __________/s/_______________
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